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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 HENRY WEBB,                                      )
                                                  )
 Plaintiff,                                       )
                                                  )
                 v.                               )   Civil Action No. 22-1044
                                                  )
 INDIANA UNIVERSITY OF                            )
 PENNSYLVANIA,                                    )
                                                  )
 Defendant.
                                           ORDER

        AND NOW, this 31st day of October, 2022, upon consideration of Defendant Indiana

University of Pennsylvania’s Motion to Dismiss [12] and supporting documents, as well as

Plaintiff Henry Webb’s Response [19] in opposition, wherein he requests an opportunity to amend

his Complaint,

        IT IS HEREBY ORDERED that Plaintiff is granted leave to amend his complaint by

November 14, 2022;

        IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss [12] is hereby denied,

as moot, without prejudice.



                                           s/Nora Barry Fischer
                                           Nora Barry Fischer
                                           Senior United States District Judge

cc/ecf: Counsel of record




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